          Case 2:11-cr-00107-SAB               ECF No. 888                 filed 04/09/12              PageID.3078 Page 1 of 1
(t....,


                                United States District Court
                                                                         for

                                                 Eastern District of Washington



 U.S.A. vs.             DORMAIER, Caleb Vanden                                            Docket No.               2:11CR00107-014



                                   Petition for Action on Conditions of Pretrial Release

          COMES NOW Curtis G. Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Caleb Dormaier whowas placed under pretrial release supervision bytheHonorable Cynthia Imbrogno sitting
in the Court at Spokane, WA, on the 28th day of September 2011, under the following conditions:

Standard Condition No. 9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                        (If short insert here; if lengthy write on separate sheet and attach.)
Violation No. 1: Caleb Vanden Dormaier is considered in violation of his pretrial supervision in the Eastern District of Washington
by testing positive for the use of cocaine on March 20, 2012

                               PRAYING THAT THE COURT WILL ORDER A SUMMONS


                                                                                             I declare under penalty of perjury that
                                                                                             the foregoing is true and correct.

                                                                                             Executed on:        4/9/2012

                                                                                    by       s/Curtis G. Hare

                                                                                             Curtis G. Hare
                                                                                             U.S. Probation Officer




 THE COURT ORDERS


 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [i/f     The Issuance of a Sumrnons                I
 [tf Other T'fct^f^ni
                                                                                                Signature of Judicial Officer

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                                                                                                Date
